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                             Attorney for Plaintiff
                        6
                                                         UNITED STATES DISTRICT COURT
                        7
                                                                   DISTRICT OF NEVADA
                        8

                        9     DONALD E. MORISKY, an individual,
                                                                               Case No.: 2:20-cv-00964-APG-VCF
                       10                             Plaintiff,
                                          v.                                                 STATUS REPORT
                       11
                              MMAS RESEARCH, LLC, a Washington
                       12     limited liability company; STEVEN
                              TRUBOW, an individual; MMAS
                       13     RESEARCH ITALY S.R.L, an Italian
                              company; and MMAS RESEARCH
                       14     FRANCE, SAS, a French company,

                       15                             Defendants.

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                       17            Plaintiff Donald E. Morisky and Defendants MMAS Research, LLC, Steven Trubow,
                       18    MMAS Research Italy S.R.L., and MMAS Research France, SAS (collectively “the Parties”)
                       19    respectfully notify the Court that they have agreed in principle to settle all matters in controversy
                       20    between them. The parties are working in good faith to finalize commercially complex settlement
                       21    documents detailing the parties’ agreement to settle the litigation.
                       22            The parties respectfully request that the Court extend the deadline an additional 30 days
                       23    from October 23, 2020 to November 23, 2020 to allow time for the parties to finalize the
                       24    settlement agreement and file a Notice of Dismissal.
                       25            DATED: October 19, 2020.
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                            Case 2:20-cv-00964-APG-VCF Document 11 Filed 10/20/20 Page 2 of 2




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                        5                                                 Attorney for Plaintiff

                        6

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                        9                                            ORDER

                       10    IT IS SO ORDERED

                       11    Dated this 20th day of October   , 20 20 .

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                                                                      DISTRICT COURT JUDGE
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